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               EXHIBIT 11
               EXHIBIT
 Declaration
 Declaration of Sanjiv Dhawan
             of Sanjiv Dhawan
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            13 | Attorneys for Plaintiff
                  NATIONAL    SPECIALTY     PHARMACY    LLC
            14
                                                    UNITED        STATES DISTRICT COURT
            15
                                                              DISTRICT OF NEVADA
            16
                 NATIONAL SPECIALTY                                       Case No. 2:25-cv-00295-CDS-MDC
            17 |] PHARMACY LLC,

            18                                       Plaintiff,           DECLARATION OF SANJIV DHAWAN IN
                                                                          SUPPORT OF PLAINTIFF NATIONAL
            19    Ilvs.                                                   SPECIALTY PHARMACY LLC’S
                                                                          OPPOSITION TO DEFENDANT SANA’S
            20 ||MAYBELLINE          SANA, an individual;                 MOTION   TO DISMISS / MOTION FOR
                   RAYNE     BRIDGES,       an individual; and            SUMMARY    JUDGMENT
            21|}DOES 1 to 49, inclusive,

            22                                       Defendants.

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            25

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                                                 DECLARATION            OF SANJIV DHAWAN

                            I, Sanjiv Dhawan, hereby declare as follows:

                            1.     I am    the CEO         of Plaintiff National    Specialty Pharmacy,      LLC    (“NSP”),    am

                  competent to testify as to the matters below, and make the following statements based on personal

                 knowledge and information or based on my review of the books and records of NSP.

                            2.     NSP is a compounding pharmacy that’s business is to provide various life-saving

                  drugs and durable medical equipment to patients primarily in Nevada, with patients in 16 other

                  states.

                            3.     Its business focuses on serving patients holding Pharmacy Benefits Cards issued by

                  the U.S. Department of Labor, also known as “White Cards.” The White Card program is obscure

                  and not widely pursued by other pharmaceutical companies. NSP spent seven years of labor and

                  significant capital investment to obtain approval for and develop its White Card business, which

                  encompasses the development, compounding, marketing, and sale of pharmaceuticals and other

                 medical products, including those under government contracts.

                            4.     The    end   result     of NSP’s   labor   and   financial   investment   are   databases   (the

                  “Databases”) that stored, inter alia, complex patient information, including, but not limited to,

                 patient name and contact information, the patient’s diagnosis and pharmaceutical purchase history,

                 medical provider (including type of medical provider), and how long they had been in the White

                  Card program. As NSP marketing efforts were primarily targeted at referring medical providers,

                  the database allowed users to sort by medical providers, and ascertain how much NSP business

                 was    associated with each medical provider.            In the wrong hands, the Database would allow

                  competitors to quickly and easily target NSP’s biggest revenue sources.

                            5.     The information in the Database was not easily or publicly accessible, and collected

                  and organized only through NSP’s significant and costly efforts over an extended period of time.

                  The Database was encrypted, and access was severely limited through passwords.                       Given the

                  sensitivity of the Database,           it also tracked user activity on the Database,        and IP addresses

                  associated with such activity.

            28              6.     In addition, NSP developed a customer resource management                   system (“CRM”)
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                 using the platform Monday.com, which organizes information from the Databases and presents it

                  in a user-friendly manner.

                          7.        To   comply   with industry law and regulation,     including the Health    Insurance

                  Portability and Accountability Act (“HIPAA”), NSP             invested heavily in security measures to

                 protect its proprietary information, including encryption, password protection, physical security,

                  legal review, and binding written agreements for employees with confidentiality and nondisclosure

                 provisions. The confidentiality of NSP’s proprietary processes and information is crucial to its

                  success—if its competitors accessed this information, they could duplicate NSP’s products, target

                  its patients and business partners, and capture its market share.

                          8.        A list of NSP’s trade secrets NSP contends were misappropriated by Defendant

                  Maybelline Sana (‘Sana’) are attached hereto as Exhibit A.

                          9.        Defendant Sana began her employment with NSP as a pharmacy technician on May

                  21, 2018, and was later promoted to Director of Operations and Human Resources in the Fall of

                  2022. When Sana was hired, she signed an employment agreement (the “Agreement’”’), a true and

                  correct copy of which is attached hereto as Exhibit B. Sana also goes by the name “Maybelline

                  Ash,” and has signed documents under that name. During her tenure, Sana worked closely with

                  Sameer Padhye (“Padhye’’), NSP’s former Chief Strategy Officer.

                          10.       Padhye, as Chief Strategy Officer of NSP, was entrusted to develop new lines of

                 business for NSP. Instead, Padhye shirked his NSP duties in favor of a competing venture Taycann

                  LLC, doing business as Taycann Wellness. Upon information and belief, Padhye’s plan was to

                  compete with NSP        in the White       Card   space, and used NSP’s   trade secret and confidential

                  information to develop Taycann’s business. Padhye’s conduct is the subject of a related case in the

                 Northern District of California.

                          11.       Taycann was incorporated in California in 2022, and, upon information and belief,

                 beginning at least as early as February 2023, Padhye began to develop Taycann as a competitor to

                 NSP. Attached hereto as Exhibit C is a true and correct copy of the Articles of Organization for

                  Taycann.      Around this time, Sana and Padhye began accessing and saving NSP             data wholly

            28    irrelevant to their work. For example, on February 28, 2023, Sana sent Padhye NSP’s master
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                 patient list—information neither of them needed to fulfill their job duties; on March 29, 2023, Sana

                  sent Padhye a summary of NSP’s prescriptions filled in June 2017—again irrelevant for their

                  official duties, but informative to a competitor; and on April 27, 2023 Sana sent Padhye a list of

                  all prescriptions NSP filled between 2016 and 2017, with personally identifiable information—

                  again of no relevance to their current duties in 2023, including Padhye’s duties to develop new

                  lines of business for NSP. Emails confirm that Defendant Rayne Bridges also worked towards

                  developing Taycann, and NSP employees remarked that they would frequently see Sana, Bridges,

                  and Padhye having closed door meetings together.

                          12.      Upon information and belief, Sana and Bridges accepted Padhye’s invitation to

                  assist him in launching Taycann while all were still employed by NSP, and despite their NSP

                  agreements.     Once        they determined            to leave NSP          and focus   on Taycann,       Sana and the co-

                  conspirators coordinated their resignation dates within one month of each other. Sana resigned

                  from NSP on July 5, 2023, with an effective date of July 31, 2023, though she ceased working for

                 NSP by July 14, 2023. On the eve of Padhye’s resignation on June 22, 2023, while Sana was still

                  employed      with     NSP,         she     emailed     him    trade   secret     information      from   NSP’s     proprietary

                  Databases—information                 seemingly        sent   to   gather     information    in preparation       of launching

                  Taycann.

                          13.          Later, by misleading              Monday.com           personnel, Padhye      gained exclusive use of

                 NSP’s CRM for a period and locked out all NSP users. When NSP regained access to the system,

                  it discovered several references to Taycann, with comments by Sana noting her sales success on

                  Taycann’s behalf.

                          14.          Following her resignation, Sana and Padhye solicited NSP personnel, including

                  Benjamin Brown, to perform marketing work for her new venture, Taycann.

                          15.          Sana    also         engaged     in disruptive     conduct     during   her    employment,      including

                  spreading false statements to NSP                     employees—such            as claiming I wished harm on a           senior

                  employee      and his wife, and fabricating my net worth to incite dissatisfaction—all of which

                  damaged employee morale and NSP’s operations.

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                           16.    As a result of Sana, Bridges,       and Padhye’s    actions, NSP   suffered significant

                  financial and reputational harm. NSP’s regularly had income of over $10 million per year, with

                  2022 net profit of over $3.4 million, but that was down in 2023 to net profit of over $2.3 million

                  after the conduct complained of herein by Sana, Bridges, and Padhye.

                           17.    Their solicitation of employees and disruptive conduct fractured NSP’s workforce

                  and hindered its operations. In the end, the unlawful conduct, exodus from NSP, shirking of NSP

                  duties, and discord sowed amongst NSP’s workforce and ultimately caused NSP                to pause its

                 business operations while it regroups and rehires. However, NSP continues to maintain its leases,

                  continues to own its pharmaceutical equipment, and is considering its relaunch plans.

                           I declare under penalty of perjury under the laws of the United States of America that the

                  foregoing is true and correct.
                  Dated:    4/15/2025                          Sanjiv. Yirawau.
                                                             Sanjiv Dhawan




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               EXHIBIT A
               EXHIBIT A
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13 Attorneys for Plaintiff
   NATIONAL SPECIALTY PHARMACY LLC
14
                            UNITED STATES DISTRICT COURT
15
                                  DISTRICT OF NEVADA
16
   NATIONAL SPECIALTY                       Case No. 2:25-cv-00295-CDS-MDC
17 PHARMACY LLC,

18                             Plaintiff,           PLAINTIFF NATIONAL
                                                    SPECIALTY PHARMACY LLC’S TRADE
19 vs.                                              SECRET IDENTIFICATION
20 MAYBELLINE SANA, an individual;
   RAYNE BRIDGES, an individual; and
21 DOES 1 to 49, inclusive,

22                             Defendants.
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 1                               TRADE SECRET IDENTIFICATION
 2         Plaintiff National Specialty Pharmacy, LLC (“NSP”) identifies the following trade secrets
 3 that are the subject of its trade secret misappropriation claims in this Action:

 4         1.      Data stored on NSP’s CRM Monday.com, including the identity and contact
 5 information of NSP’s current patients and health care provider (physician, home health agency, or

 6 other provider), whether the provider worked with White Card program patients, number of

 7 referrals the provider has made to NSP, number of patients per provider; and how NSP prioritizes

 8 current provider for further outreach; NSP’s list of target health care providers in California, New

 9 Mexico, and Tennessee for future business development; pricing, budget, and ordering history for
10 NSP’s marketing materials; marketing event pricing, budget, attendee information, and

11 profitability based on new leads and patients per marketing event; NSP’s master patient list,

12 including name, contact information, date of last prescription, insurance information, and number

13 of prescriptions per year.

14         2.      Data stored on NSP’s patient-provider database, including, patient name and
15 associated contact information, healthcare provider information, insurance information, indication

16 / condition / diagnosis, prescriptions and durable medical equipment, pricing strategy, purchase /

17 cost / profit history, and dates, all sortable including by region and provider to identify most

18 profitable providers, regions, patients, or conditions.
19         3.      Data stored on NSP’s pharmaceutical and equipment database, including,
20 pharmaceutical product formulations per indication, mixing and dispensing specifics, vendor and

21 supplier information for the formulations, negotiated pricing information, including controlled

22 substance pricing, average wholesale price, and average retail price.

23         4.      NSP’s financial data, including financial statements such as profit and loss
24 statements, and balance sheets; financial modeling and trend analysis for medical provider referrals

25 and ongoing patient care strategies; profitability of various segments of NSP’s business, including

26 non-DOL compounding versus DOL compounding.

27         5.      NSP’s Confidential Policies and Procedures Manual.
28


                                                     2
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 1         6.     NSP’s White Card Market Analysis, including locations of White Card patients and
 2 associated DOE sites, number of patients per region, data on the medical providers in the region,

 3 analysis of expansion opportunities/competitors in the region, regional compounding pharmacies,

 4 and notes regarding NSP’s outreach efforts to medical providers in the region, including whether

 5 the medical providers service White Card patients.

 6         7.     The following documents comprising NSP’s indication / disease strategies:
 7                a. 4200_001.pdf;
 8                b. PARKINSON’S_PACKAGE-TN.docx; and

 9                c. DOL-

10                    White_Card_Commonly_Covered_Medications_per_Disease_State.docx.

11         8.     The following documents comprising NSP’s data and analysis comparing insurance

12 and DOE/White Card claim comparison (rejection and approval), based on indication,
   prescription, equipment, and pricing:
13
                   a. Mymatrixx_vs_DOE_Ins.xlsx; and
14
                   b. MyMatrixx_6.5.23.xlsx.
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               EXHIBIT B
               EXHIBIT B
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                      NATIONAL SPECIALTY PHARMACY, LLC
              AT-WILL EMPLOYMENT, CONFIDENTIAL INFORMATION,
                    AND INVENTION ASSIGNMENT AGREEMENT

          As a condition of my employment with National Specialty Pharmacy, LLC, its subsidiaries,
affiliates, successors or assigns (together, the “Company”), and in consideration of my employment
with the Company and my receipt of the compensation now and hereafter paid to me by Company, |
agree to the following provisions of this National Specialty Pharmacy, LLC At-Will Employment,
Confidential Information, Invention Assignment, and Arbitration Agreement (this “Agreement”):

       1.     AT-WILL EMPLOYMENT

      | UNDERSTAND AND ACKNOWLEDGE, THAT MY EMPLOYMENT WITH THE
COMPANY IS FOR NO SPECIFIED TERM AND CONSTITUTES “AT-WILL” EMPLOYMENT.
I ALSO    UNDERSTAND    THAT ANY REPRESENTATION      TO THE CONTRARY         IS
UNAUTHORIZED AND NOT VALID UNLESS IN WRITING AND          SIGNED  BY  THE   AN
AUTHORIZED     REPRESENTATIVE   OF NATIONAL    SPECIALTY    PHARMACY,      LLC
ACCORDINGLY, I ACKNOWLEDG   E  THAT MY  EMPLOYMENT     RELATIONSHIP   MAY   BE
TERMINATED AT ANY TIME, WITH OR WITHOUT GOOD CAUSE OR         FOR ANY   OR  NO
CAUSE, AT MY OPTION OR AT THE OPTION OF THE COMPANY, WITH OR WITHOUT
NOTICE. I FURTHER ACKNOWLEDGE THAT THE COMPANY MAY MODIFY JOB TITLES,
SALARIES, AND BENEFITS FROM TIME TO TIME AS IT DEEMS NECESSARY.

       2.     APPLICABILITY TO PAST ACTIVITIES

        National Specialty Pharmacy, LLC and I acknowledge that I have been engaged to provide
services by National Specialty Pharmacy, LLC for a period of time prior to the date of this
Agreement (the “Prior Engagement Period”). Accordingly, I agree that if and to the extent that,
during the Prior Engagement Period: (i) I received access to any information from or on behalf of
Company that would have been “Company Confidential Information” (as defined below) if I
received access to such information during the period of my employment with Company under this
Agreement; or (ii) I conceived, created, authored, invented, developed or reduced to practice any
item, including any intellectual property rights with respect thereto, that would have been an
“Invention” (as defined below) if conceived, created, authored, invented, developed or reduced to
practice during the period of my employment with Company under this Agreement; then any such
information shall be deemed “(Company Confidential Information” hereunder and any such item
shall be deemed an “Invention” hereunder, and this Agreement shall apply to such information or
item as if conceived,   created,   authored,   invented,   developed   or reduced   to practice   under   this
Agreement.

       3.     CONFIDENTIALITY

               A.     Definition of Confidential Information. 1 understand that “Company
Confidential  Information”    means information (including any and all combinations of individual
items of information) that the Company has or will develop, acquire, create, compile, discover or




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own, that has value in or to the Company’s                   business which is not generally known           and which the
Company wishes to maintain as confidential. Company Confidential Information includes both
information disclosed by the Company to me, and information developed or learned by me during
the course of my employment with Company. Company Confidential Information also includes all
information of which the unauthorized disclosure could be detrimental to the interests of Company,
whether or not such information is identified as Company Confidential Information. By example,
and without limitation, Company Confidential Information includes any and all non-public
information    that     relates    to   the   actual    or    anticipated    business   and/or   products,     research    or
development of the Company, or to the Company’s technical data, trade secrets, or know-how,
including, but not limited to, research, product plans, or other information regarding the Company’s
products or services and markets therefor, customer lists, patient and physician information, and
customers (including, but not limited to, customers of the Company on which I called or with which
I may become acquainted during the term of my employment), software, developments, inventions,
discoveries,   ideas,     processes,      formulas,     technology,      designs,   drawings,    hardware     configuration
information, marketing,           finances, and other business information disclosed by the Company                    either
directly or indirectly in writing, orally or by drawings or inspection of premises, parts, equipment, or
other Company property. Notwithstanding the foregoing, Company Confidential Information shall
not include any such information which J can establish (i) was publicly known                         or made     generally
available prior to the time of disclosure by Company to me; (1i) becomes publicly known or made
generally available after disclosure by Company to me through no wrongful action or omission by
me; or (iii) is in my rightful possession, without confidentiality obligations, at the time of disclosure
by Company as shown by my then-contemporancous written records; provided that any combination
of individual items of information shall not be deemed to be within any of the foregoing exceptions
merely because one or more of the individual items are within such exception, unless the
combination as a whole is within such exception. I understand that nothing in this Agreement is
intended to limit employees’ rights to discuss the terms, wages, and working conditions of their
employment, as protected by applicable law.

               B.     Nonuse and Nondisclosure. | agree that during and after my employment with
the Company, I will hold in the strictest confidence, and take all reasonable precautions to prevent
any unauthorized use or disclosure of Company Confidential Information, and I will not (4) use the
Company Confidential Information for any purpose whatsoever other than for the benefit of the
Company in the course of my employment, or (ii) disclose the Company Confidential Information to
any third party without the prior written authorization of an authorized representative of the
Company. Prior to disclosure when compelled by applicable law; I shall provide prior written notice
to the General Counsel of National Specialty Pharmacy, LLC. I agree that I obtain no title to any
Company Confidential Information, and that as between Company and myself, National Specialty
Pharmacy, LLC retains all Confidential Information as the sole property of National Specialty
Pharmacy, LLC I understand that my unauthorized use or disclosure of Company Confidential
Information during my employment may lead to disciplinary action, up to and including immediate
termination and legal action by the Company. J understand that my obligations under this
Section 3.B shall continue after termination of my employment.

               Cc.    Former   Employer     Confidential Information.      1 agree that during my
employment with the Company, I will    not  improperly  use, disclose, or  induce the Company to use
any proprietary information or trade secrets of any former employer     or  other person or entity with
                                                                   ipa




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which I have an obligation to keep in confidence. I further agree that J will not bring onto the
Company’s premises or transfer onto the Company’s technology systems any unpublished
document, proprietary information, or trade secrets belonging to any such third party unless
disclosure to, and use by, the Company has been consented to in writing by such third party.

                D.     Third Party Information. 1 recognize that the Company has received and in the
future will receive from third parties associated with the Company, e.g., the Company’s customers,
suppliers,   physicians,   patients,   partners,   or   collaborators   (“Associated   Third     Parties’),   their
confidential or proprietary information (“Associated Third Party Confidential Information”)
subject to a duty under HIPAA and on the Company’s part to maintain the confidentiality of such
Associated Third Party Confidential Information and to use it only for certain limited purposes. I
agree at all times during my employment with the Company and thereafter, that I owe the Company
and its Associated Third Parties a duty to hold all such Associated Third Party Confidential
Information in the strictest confidence, and not to use it or to disclose it to any person, firm,
corporation, or other third party except as necessary in carrying out my work for the Company
consistent with the Company’s agreement with such Associated Third Parties. I further agree to
comply with any and all laws, regulations and Company policies and guidelines that may be adopted
from time to time regarding Associated Third Parties and Associated Third Party Confidential
Information. I understand that my unauthorized use or disclosure of Associated Third Party
Confidential Information or violation of any law, regulation or Company policies during my
employment may lead to disciplinary action, up to and including immediate termination and legal
action by the Company and the relevant regulatory agencies.

        4,       OWNERSHIP

                  A.     Assignment of Inventions. As between the Company and myself, I agree that
all right, title, and interest in and to any and all copyrightable material, notes, records, drawings,
designs, inventions, improvements,         developments,      discoveries, ideas and trade secrets conceived,
discovered, authored, invented, developed or reduced to practice by me, solely or in collaboration
with others, during the period of time I am in the employ of the Company (including during my off-
duty hours), or with the use of Company’s equipment, supplies, facilities, or Company Confidential
Information, and any copyrights, patents, trade secrets, mask work rights or other intellectual
property rights relating to the foregoing, except as provided in Section Error! Reference source
not found. below (collectively, “Inventions”), are the sole property of National Specialty Pharmacy,
LLC I also agree to promptly make full written disclosure to National Specialty Pharmacy, LLC of
any Inventions, and to deliver and assign and hereby irrevocably assign fully to National Specialty
Pharmacy, LLC all of my right, title and interest in and to Inventions. I agree that this assignment
includes a present conveyance to National Specialty Pharmacy, LLC of ownership of Inventions that
are not yet in existence. | further acknowledge that all original works of authorship that are made by
me (solely or jointly with others) within the scope of and during the period of my employment with
the Company and that are protectable by copyright are “works made for hire,” as that term is defined
in the United States Copyright Act. J understand and agree that the decision whether or not to
commercialize or market any Inventions is within the Company’s sole discretion and for the
Company’s sole benefit, and that no royalty or other consideration will be due to me as a result of
the Company’s efforts to commercialize or market any such Inventions.

                                                            =3z




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                  B.   Pre-Existing Materials. | will inform National Specialty Pharmacy, LLC in
writing before incorporating any inventions, discoveries, ideas, original works of authorship,
developments, improvements, trade secrets and other proprietary information or intellectual property
rights owned by me or in which I have an interest prior to, or separate from, my employment with
the Company (“Prior Inventions”) into any Invention or otherwise utilizing any such Prior
Invention in the course of my employment with the Company; and the Company is hereby granted a
nonexclusive, royalty-free, perpetual, irrevocable, transferable worldwide license (with the right to
grant and authorize sublicenses) to make, have made,             use, import, offer for sale, sell, reproduce,
distribute, modify, adapt, prepare derivative works of, display, perform, and otherwise exploit such
Prior Inventions, without restriction, including, without limitation, as part of or in connection with
such Invention, and to practice any method related thereto. | will not incorporate any inventions,
discoveries,    ideas,   original works   of authorship,   developments,    improvements,    trade secrets   and
other proprietary information or intellectual property rights owned by any third party into any
Invention without National Specialty Pharmacy, LLC’s prior written permission. I have attached
hereto as Exhibit A, a list describing all Prior Inventions or, if no such list is attached, I represent and
warrant that there are no such Prior Inventions. Furthermore, I represent and warrant that if any Prior
Inventions are included on Exhibit A, they will not materially affect my ability to perform all
obligations under this Agreement.

               C.     Moral Rights. Any assignment to National Specialty Pharmacy, LLC of
Inventions includes all rights of attribution, paternity, integrity, modification, disclosure and
withdrawal, and any other rights throughout the world that may be known as or referred to as “moral
rights,” “artist’s rights,” “droit moral,” or the like (collectively, “Moral Rights”). To the extent that
Moral Rights cannot be assigned under applicable law, I hereby waive and agree not to enforce any
and all Moral Rights, including, without limitation, any limitation on subsequent modification, to the
extent permitted under applicable law.

                Dz.    Maintenance of Records. | agree to keep and maintain adequate, current,
accurate, and authentic written records of all Inventions made by me (solely or jointly with others)
during the term of my employment with the Company. The records will be in the form of notes,
sketches, drawings, electronic files, reports, or any other format that may be specified by the
Company. As between Company and myself, the records are and will be available to and remain the
sole property of National Specialty Pharmacy, LLC at all times.

                 E.     Further Assurances. I agree to assist the Company, or its designee, at the
Company’s expense, in every proper way to secure the Company’s rights in the Inventions in any
and all countries, including the disclosure to the Company of all pertinent information and data with
respect thereto, the execution of all applications, specifications, oaths, assignments, and all other
instruments that the Company shall deem proper or necessary in order to apply for, register, obtain,
maintain, defend, and enforce such rights, and in order to deliver, assign and convey to the
Company,       its successors, assigns, and nominees       the sole and exclusive rights, title, and interest in
and to all Inventions, and testifying in a suit or other proceeding relating to such Inventions. | further
agree that my obligations under this Section 4.E shall continue after the termination of this
Agreement.


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                    F.       Attorney-in-Fact.    | agree that, if the Company      is unable    because     of my
unavailability, mental or physical incapacity, or for any other reason to secure my signature with
respect to any Inventions, including, without limitation, for the purpose of applying for or pursuing
any application for any United States or foreign patents or mask work or copyright registrations
covering the Inventions assigned to National Specialty Pharmacy, LLC in Section 4.A, then I hereby
irrevocably designate and appoint the Company and its duly authorized officers and agents as my
agent and attorney-in-fact, to act for and on my behalf to execute and file any papers and oaths, and
to do all other lawfully permitted acts with respect to such Inventions to further the prosecution and
issuance of patents, copyright and mask work registrations with the same legal force and effect as if
executed by me. This power of attorney shall be deemed coupled with an interest, and shall be
irrevocable.

       5.           CONFLICTING      OBLIGATIONS

                   A.        Current Obligations. | agree that during the term of my employment with the
Company,         I will   not engage in or undertake any other employment, occupation, consulting
relationship, or commitment that is directly related to the business in which the Company is now
involved        or becomes   involved     or has plans to become    involved, nor will I engage     in any other
activities that conflict with my obligations to the Company.

                   B. Prior Relationships. Without limiting Section 5.A, I represent and warrant
that I have no other agreements, relationships, or commitments to any other person or entity that
conflict with the provisions of this Agreement, my obligations to the Company under this
Agreement, or my ability to become employed and perform the services for which I am being hired
by the Company. I further agree that if I have signed a confidentiality agreement or similar type of
agreement with any former employer or other entity, | will comply with the terms of any such
agreement to the extent that its terms are lawful under applicable law. I represent and warrant that
after undertaking a careful search (including searches of my computers, cell phones, electronic
devices, and documents), J have returned all property and confidential information belonging to all
prior employers (and/or other third parties I have performed services for in accordance with the
terms of my applicable agreement). Moreover, I agree to fully indemnify the Company, its directors,
officers, agents, employees, investors, shareholders, administrators, affiliates, divisions, subsidiaries,
predecessor and successor corporations, and assigns for all verdicts, judgments, settlements, and
other losses incurred by any of them resulting from my breach of my obligations under any
agreement with a third party to which I am a party or obligation to which I am bound, as well as any
reasonable attorneys’ fees and costs if the plaintiff is the prevailing party in such an action, except as
prohibited by law.

           6.        RETURN OF COMPANY           MATERIALS

                    A.       Definition    of Electronic Media    Equipment   and Electronic    Media    Systems.    |
understand that “Electronic Media Equipment” includes, but is not limited to, computers, external
storage devices, thumb drives, handheld electronic devices, telephone equipment, and other
electronic media devices. I understand that “Electronic Media Systems” includes, but is not limited
to, computer servers, messaging and email systems or accounts, and web-based services (including

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cloud-based information storage accounts), whether provided for my use directly by the company or
by third-party providers on behalfof the company.

               B.      Return   of Company   Property.     | understand   that anything    that I created   or
worked on for the Company while working for the Company belongs solely to the Company and that
I cannot remove, retain, or use such information without the Company’s express written permission.
Accordingly, upon separation from employment with the Company             or upon the Company’s request
at any other time, I will immediately deliver to National Specialty Pharmacy, LLC, and will not keep
in my possession, recreate, or deliver to anyone else, any and all Company property, including, but
not limited to, Company Confidential Information, Associated Third Party Confidential Information,
all Company equipment including all Company Electronic Media Equipment, all tangible
embodiments    of the Inventions, all electronically stored information and passwords to access such
property,   Company   credit cards, records, data, notes, notebooks,       reports, files, proposals,   lists,
correspondence, specifications, charts, any other documents .and property, and reproductions of any
of the foregoing items, including, without limitation, those records maintained pursuant to Section
4.D.

               C.      Return of Company Information on Company Electronic Media Equipment. In
connection with my obligation to return information to the Company, I agree that I will not copy,
delete, or alter any information, including personal information voluntarily created or stored,
contained upon my Company Electronic Media Equipment before I return the information to the
Company.

               D.      Return of Company Information on Personal Electronic Media Equipment. In
addition, if I have used any personal Electronic Media Equipment or personal Electronic Media
Systems to create, receive, store, review, prepare or transmit any Company information, including
but not limited to, Company Confidential Information, J agree to make a prompt and reasonable
search for such information in good faith, including reviewing any personal Electronic Media
Equipment or personal Electronic Media Systems to locate such information and if I locate such
information I agree to notify the Company of that fact and then provide the Company with a
computer-useable copy of all such Company information from those equipment and systems; and I
agree to cooperate reasonably with the Company to verify that the necessary copying is completed
(including upon request providing a sworn declaration confirming the return of property and deletion
of information), and, upon confirmation of compliance by the Company, I agree to delete and
expunge all Company information.

               i      No Expectation of Privacy in Company Property. | understand that I have no
expectation of privacy in Company property, and I agree that any Company property situated on
Company premises, or held by third-party providers for the benefit of the company, is subject to
inspection by Company personnel at any time with or without further notice. I also understand and
agree that as it relates to the Company’s desire to protect its confidential and proprietary
information, I have no expectation of privacy as to any personal Electronic Media Equipment or
personal Electronic Media Systems that I have used for Company purposes. | further agree that the
Company, at its sole discretion, may have access to such personal Electronic Media Equipment or
personal Electronic Media Systems to retrieve, destroy, or ensure the permanent deletion of
Company     information from such equipment or systems. | also consent to an exit interview and an
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audit to confirm my compliance with this Section 6, and I will certify in writing that I have complied
with the requirements of this Section 6.

       7.      TERMINATION CERTIFICATION

        Upon separation from employment with the Company, I agree to immediately sign and
deliver to the Company the “Termination Certification” attached hereto as Exhibit C. | also agree to
keep National Specialty Pharmacy, LLC advised of my home and business address for a period of
three (3) years after termination of my employment with the Company, so that the Company can
contact me regarding my continuing obligations provided by this Agreement.

       8.      NOTIFICATION OF NEW EMPLOYER

       In the event that I leave the employ of the Company, I hereby grant consent to notification by
the Company to my new employer about my obligations under this Agreement.

       9,      SOLICITATION OF EMPLOYEES

        To the fullest extent permitted under applicable law, I agree that during my employment and
for a period of twelve (12) months immediately following the termination of my relationship with
the Company for any reason, whether voluntary or involuntary, with or without cause, [ will not
directly or indirectly solicit any of the Company’s employees to leave their employment at the
Company. I agree that nothing in this Section 9 shall affect my continuing obligations under this
Agreement during and after this twelve (12) month period, including, without limitation, my
obligations under Section 3.

        10.    CONFLICT OF INTEREST GUIDELINES

        I agree to diligently adhere to all policies of the Company, including the Company’s insider
trading policies and the Company’s Conflict of Interest Guidelines. A copy of the Company’s
current Conflict of Interest Guidelines is attached as Exhibit D hereto, but ] understand that these
Conflict of Interest Guidelines may be revised from time to time during my employment.

        ll.    REPRESENTATIONS

        Without limiting my obligations under Section 4.E above, I agree to execute any proper oath
or verify any proper document required to carry out the terms of this Agreement.                  I represent and
warrant that my performance of all the terms of this Agreement will not breach any agreement to
keep in confidence information acquired by me in confidence or in trust prior to my employment by
the Company. I hereby represent and warrant that I have not entered into, and I will not enter into,
any oral or written agreement in conflict herewith.

        12.     NON-CIRCUMVENTION, NON-COMPETITION                   AND NON-SOLICITATION


         I agree that I will not directly or indirectly, individually or together with any other persons,
investors, firms or companies (a) interfere with, circumvent, avoid, bypass or obviate, or permit any
of its representatives   or affiliates   to   interfere   with,   circumvent,   avoid,   bypass   or   obviate   the
                                                          ea)




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Company’s             (or any     of its representatives          or affiliates’)     right    in, agreements      relating     to and/or
contacts with respect to any of the Company’s current or proposed customers or clients (b) enter into
discussions with any third party introduced to me by the Company (or any of such party’s members,
shareholders, officers, directors, employees, agents, affiliates, creditors or contractual counterparts),
or initiate or negotiate with respect to any transactional relationship with any such third party (or any
of   its   shareholders,              officers,   directors,     employees,        agents,     affiliates   creditors    or    contractual
counterparts), or circumvent or attempt to circumvent the discussions and negotiations currently or
hereafter entered into with respect to the Company’s current or proposed customers or clients. In the
event that my employment or other business relationship with the Company is terminated for any
reason, I agree that I will not, for a period of 3 years from the date of such termination, engage in
any business that is competitive with the Company within a 5 mile radius of any physical location of
the Company nor solicit the services of any current or future employee or consultant of the Company

           13.          AUDIT

        I acknowledge that I have no reasonable expectation of privacy in any computer, handheld
device, telephone, voicemail, email or other technology system that is used to conduct the business
of the Company.               All information,         data, and messages           created, received,       sent, or stored        in these
systems are, at all times, the property of the Company. As such, the Company has the right to audit
and search all such items and systems, without further notice to me, to ensure that the Company is
licensed to use the software on the Company’s devices in compliance with the Company’s software
licensing policies, to ensure compliance with the Company’s policies, and for any other business-
related purposes in the Company’s sole discretion. I understand that I am not permitted to add any
unlicensed, unauthorized, or non-compliant applications to the Company’s technology systems,
including, without limitation, open source or free software not authorized by the Company, and that I
shall refrain from copying unlicensed software onto the Company’s technology systems or using
non-licensed software or websites. I understand that it is my responsibility to comply with the
Company’s policies governing use of the Company’s documents and the internet, email, telephone,
and technology systems to which I will have access in connection with my employment.

        I am aware that the Company has or may acquire software and systems that are capable of
monitoring and recording all Company network traffic to and from any computer, handheld device,
telephone, voicemail, email or other technology system I may use to access the Company’s internal
networks. The Company reserves the right to access, review, copy, and delete any of the
information, data, or messages accessed through these systems with or without notice to me and/or
in my absence. This includes, but is not limited to, all e-mail messages sent or received, all website
visits, all chat sessions, all news                     group    activity (including groups visited, messages                    read, and
postings         by    me),     and     all   file transfers    into   and   out   of the      Company’s      internal    networks.      The
Company further reserves the right to retrieve previously deleted messages from e-mail or voicemail
and monitor usage of the Internet, including websites visited and any information | have
downloaded. In addition, the Company may review Internet and technology systems activity and
analyze usage patterns, and may choose to publicize this data to assure that technology systems are
devoted to legitimate business purposes.




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        14.    MISCELLANEOUS

                A.      Governing Law, Consent to Personal Jurisdiction. This Agreement will be
governed by the laws of the State of Nevada without regard to Nevada’s conflicts of law rules that
may result in the application of the laws of any jurisdiction other than Nevada. To the extent that any
lawsuit is permitted under this Agreement, I hereby expressly consent to the personal and exclusive
jurisdiction and venue of the state and federal courts located in Nevada for any lawsuit filed against
me by the Company.

                B.      Assignability. This Agreement will be binding upon my heirs, executors,
assigns, administrators, and other legal representatives, and will be for the benefit of the Company,
its successors, and its assigns. There are no intended third-party beneficiaries to this Agreement,
except as may be expressly otherwise stated. Notwithstanding anything to the contrary herein,
National Specialty Pharmacy, LLC may assign this Agreement and its rights and obligations under
this Agreement to any successor to all or substantially all of National Specialty Pharmacy, LLC’s
relevant assets, whether by merger, consolidation, reorganization, reincorporation, sale of assets or
stock, or otherwise.

                CE    Entire Agreement. This Agreement, together with the Exhibits herein and any
executed written offer letter between me and the Company, to the extent such materials are not in
conflict with this Agreement, sets forth the entire agreement and understanding between the
Company and me with respect to the subject matter herein and supersedes all prior written and oral
agreements, discussions, or representations between us, including, but not limited to, any
representations made during my interview(s) or relocation negotiations. I represent and warrant that I
am not relying on any statement or representation not contained in this Agreement. Any subsequent
change or changes in my duties, salary, compensation, conditions or any other terms of my
employment will not affect the validity or scope of this Agreement.

               Dz.    Headings. Headings are used in this Agreement for reference only and shall
not be considered when interpreting this Agreement.

                 E,      Severability. If a court or other body of competent jurisdiction finds, or the
Parties mutually believe, any provision of this Agreement, or portion thereof, to be invalid or
unenforceable, such provision will be enforced to the maximum extent permissible so as to effect the
intent of the Parties, and the remainder of this Agreement will continue in full force and effect.

               F.     Modification, Waiver. No modification of or amendment to this Agreement,
nor any waiver of any rights under this Agreement, will be effective unless in a writing signed by the
an authorized representative of National Specialty Pharmacy, LLC and me. Waiver by National
Specialty Pharmacy, LLC of a breach of any provision of this Agreement will not operate as a
waiver of any other or subsequent breach.

               G.      Survival. The rights and obligations of the parties to this Agreement         will
survive termination of my employment with the Company.




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Date        $-ZI° (8
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                                           MaAyYBELLINE ASH
                                     Name of Employee (typed or printed)

Witness:




Signature




Name (typed or printed)




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                                               EXHIBIT C

        NATIONAL SPECIALTY PHARMACY,                 LLC TERMINATION               CERTIFICATION

         This is to certify that I do not have in my possession, nor have I failed to return, any devices,
records, data, notes, reports, proposals, lists, correspondence, specifications, drawings, blueprints,
sketches, materials, equipment, any other documents or property, or reproductions of any and all
aforementioned items belonging to National Specialty Pharmacy, LLC, its subsidiaries, affiliates,
successors or assigns (together, the “Company”).

        I further certify that I have complied with all the terms of the Company’s At-W ill
Employment, Confidential Information, Invention Assignment, and Arbitration Agreement signed by
me, including the reporting of any inventions and original works of authorship (as defined therein)
conceived or made by me (solely or jointly with others), as covered by that agreement.

        I further agree that, in compliance with the At-Will Employment, Confidential Information,
Invention Assignment, and Arbitration Agreement, I will preserve as confidential all Company
Confidential Information and Associated Third Party Confidential Information, including trade
secrets, confidential knowledge, data, or other proprietary information relating to products,
processes, know-how, designs, formulas, developmental or experimental work, computer programs,
databases, other original works of authorship, customer lists, business plans, financial information,
or other subject matter pertaining to any business of the Company or any of its employees, clients,
consultants, or licensees.

        I also agree that for twelve (12) months from this date, I will not directly or indirectly solicit
any of the Company’s employees to leave their employment at the Company. I agree that nothing in
this paragraph shall affect my continuing obligations under the At-Will Employment, Confidential
Information, Invention Assignment, and Arbitration Agreement during and after this twelve (12)
month period, including, without limitation, my obligations under Section 3 (Confidentiality)
thereof.

         After    leaving     the    Company’s       employment,       I    will     be          employed        by
                                                                                          in    the   position   of




Date:
                                                        Signature



                                                        Name of Employee (typed or printed)

Address for Notifications:




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                                                      EXHIBIT D


 NATIONAL SPECIALTY PHARMACY, LLC CONFLICT OF INTEREST GUIDELINES

       It is the policy of National Specialty Pharmacy, LLC to conduct its affairs in strict
compliance with the letter and spirit of the law and to adhere to the highest principles of business
ethics. Accordingly, all officers, employees, and independent contractors must avoid activities that
are in conflict, or give the appearance of being             in conflict, with these principles and with the
interests        of the Company.    The   following   are potentially   compromising   situations   that must   be
avoided:
        1.     Revealing confidential information to outsiders or misusing confidential information.
Unauthorized divulging of information is a violation of this policy whether or not for personal gain
and whether or not harm to the Company is intended. (The At-Will Employment, Confidential
Information, Invention Assignment, and Arbitration Agreement claborates on this principle and is a
binding agreement.)
        2.    Accepting or offering substantial gifts, excessive entertainment, favors, or payments
that may be deemed to constitute undue influence or otherwise be improper or embarrassing to the
Company.
        3,      Participating in civic or professional           organizations   that might   involve   divulging
confidential information of the Company.
        4,      Initiating or approving personnel actions affecting reward or punishment of
employees or applicants where there is a family relationship or is or appears to be a personal or
social involvement.
        5.      Initiating or approving any form of personal or social harassment of employees.
        6.     Investing or holding outside directorship in suppliers, customers, or competing
companies, including financial speculations, where such investment or directorship might influence
in any manner a decision or course of action of the Company.
            cA        Borrowing from or lending to employees, customers, or suppliers.
            8.        Acquiring real estate of interest to the Company.
        a       Improperly using or disclosing to the Company any proprictary information or trade
secrets of any former or concurrent employer or other person or entity with whom obligations of
confidentiality exist.
         10.    Unlawfully discussing prices, costs, customers, sales, or markets with competing
companies or their employees.
            11.       Making any unlawful agreement with distributors with respect to prices.
            12.       Improperly using or authorizing the use of any inventions that are the subject of
patent claims of any        other person or entity.

            13.       Engaging in any conduct that is not in the best interest of the Company.

       Each officer, employee, and independent contractor must take every necessary action to
ensure compliance with these guidelines and to bring problem areas to the attention of higher




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management for review. Violations of this conflict of interest policy may result in discharge without
warning. I understand that nothing in this Agreement is intended to limit employees’ rights to
discuss the terms, wages, and working conditions of their employment, as protected by applicable
law.




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               EXHIBIT C
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                          STATE OF CALIFORNIA                                                                 For Office Use Only
                          Office of the Secretary of State
                          ARTICLES OF ORGANIZATION                                                            -FILED-
                          CA LIMITED LIABILITY COMPANY
                          California Secretary of State                                               File No.: 202251717816
                          1500 11th Street                                                            Date Filed: 7/28/2022
                          Sacramento, California 95814
                          (916) 653-3516



Limited Liability Company Name
  Limited Liability Company Name                                     Taycan, LLC
Initial Street Address of Principal Office of LLC
  Principal Address                                                  10211 BYRNE AVE.
                                                                     CUPERTINO, CA 95014
Initial Mailing Address of LLC
  Mailing Address                                                    10211 BYRNE AVE.
                                                                     CUPERTINO, CA 95014
  Attention                                                          Sameer Padhye
Agent for Service of Process
  California Registered Corporate Agent (1505)                       COGENCY GLOBAL INC.
                                                                     Registered Corporate 1505 Agent
Purpose Statement
  The purpose of the limited liability company is to engage in any lawful act or activity for which a limited liability
  company may be organized under the California Revised Uniform Limited Liability Company Act.
Management Structure
  The LLC will be managed by                                         One Manager

  Additional information and signatures set forth on attached pages, if any, are incorporated herein by reference and
  made part of this filing.
Electronic Signature

       By signing, I affirm under penalty of perjury that the information herein is true and correct and that I am authorized by
       California law to sign.


  Rafael Pacquing                                                    07/28/2022
  Organizer Signature                                                Date




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